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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



    TIMOTHY KARCHER, et al.,
           Plaintiffs,
                                                        Civil Action No. 16-00232 (CKK)
         v.
    ISLAMIC REPUBLIC OF IRAN,
            Defendant.


                         MEMORANDUM OPINION AND ORDER
                                 (May 27, 2025)


        I. INTRODUCTION

        This Memorandum Opinion addresses the Special Master’s [231] Sealed Report and

Recommendation Regarding Damages as to injuries sustained by 43 Plaintiffs.1 These Plaintiffs

comprise estates or family members of thirteen decedents who were killed in attacks that utilized

Explosively Formed Penetrators (“EFPs”), for which Defendant Islamic Republic of Iran (“Iran”)

and its proxies bear responsibility.2 See Karcher v. Islamic Republic of Iran, Civil Action No. 16-

232, 2021 WL 133507 (Jan. 14, 2021) (discussing in detail the circumstances surrounding the

attacks on these thirteen decedents). That opinion is incorporated by reference herein. The Special

Master’s Report and Recommendation addresses the following categories of damage awards: (1)




1
 A redacted version of the Report and Recommendation shall be filed by Plaintiffs. This
Memorandum Opinion and Order is not being filed under seal as it does not disclose any
confidential information.
2
 Special Master Report, ECF No. 231, addresses claims related to decedents Clay P. Farr, Carlos
H. Saenz, John Vacho, Robert H. West, Isaac Lawson, Brandon Stout, Colby J. Umbrell, Kyle
Little, Raymond N. Spencer, Robert McRill, Jonathan Menke, Kennith W. Mayne, and Tony J.
Gonzales.


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conscious pain and suffering damages for two estate Plaintiffs; (2) economic loss damages for

seven estate Plaintiffs, including damages relating to funeral expenses for one of those estate

Plaintiffs; and (3) solatium damages by multiple Plaintiffs, who are close family members of the

thirteen decedents.3 Having considered the Report and Recommendation of the Special Master –

which is both detailed and supported by references to the record – as well as the Plaintiffs’ [234]

Notice of Non-Objections to the Special Master’s Report and Recommendation, the Court

ADOPTS the Special Master’s recommended damages awards. A separate consolidated Order

and Judgment will be issued subsequently.

       II. PROCEDURAL BACKGROUND

       After holding a three-day bench trial, on August 26, 2019, the Court granted default

judgment against Iran as to the claims of multiple Plaintiffs injured in bellwether attacks and the

claims of Plaintiffs representing individuals killed in the bellwether attacks. See Orders, ECF Nos.

93 & 105; see Aug. 26, 2019 Mem. Op., ECF No. 94 and Sept. 11, 2019 Mem. Op., ECF No. 106

(incorporated by reference herein). The Court made no finding regarding damages for any of those

bellwether Plaintiffs but instead appointed Alan Balaran, Esq. as a Special Master to prepare

reports and recommendations on damages for these Plaintiffs. See Sept. 9, 2019 Order and Admin.

Plan, ECF No. 102.      Before the Special Master’s reports and recommendations had been

completed, the Court ordered Mr. Balaran to include his findings on non-economic damages for



3
 Plaintiffs claiming solatium damages are as follows: Carrol Alderete; Patrick Farr; Chad Farr;
Anthony Alderete; Silver Farr; Nanette Saenz; John Vacho; Estate of Carol Vacho; Ashley Vacho
Leslie; Jeanette West; Shelby West; Suzzettee Lawson; Chiara Lawson; Tracy Anderson; Jeffrey
Anderson; Nancy Umbrell; Mark Umbrell; Shelley Ann Smith; Raymond Nigel Spencer, Sr.;
Sylvia Johnson Spencer; Katherine McRill-Fellini; Brett Coke; Brian Coke; Daniel Menke;
Paula Menke; Nichole Lohrig; Matthew Menke; Michelle Benavidez; Daniel Benavidez;
Christina Biederman; Jennifer Morman; Daniel Benavidez, Jr.; Marlynn Gonzales; Tony
Gonzales; Tamara Runzel; and Megan People.

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eight non-bellwether Plaintiffs who were injured in EFP attacks for which the Court subsequently

found Iran liable. See Jan. 14, 2021 Order, ECF No. 125; see also Jan.14, 2021 Order granting

default judgment; Jan. 14, 2021 Sealed Mem. Op. (incorporated by reference herein) (addressing

73 non-bellwether attacks).

        Mr. Balaran’s reports and recommendations were filed under seal, ECF Nos. 146-148, and

after an objection by the Plaintiffs – regarding the methodology employed to calculate EFP

damages – the Special Master revised his EFP Damages Matrix, see ECF No. 169 (proposed

modification). Plaintiffs filed their [170] Notice of Non-Objection, and the Court issued its [171]

Memorandum Opinion and [172] Order adopting the analysis and [revised] damages calculations.

Thereafter, this Court appointed four additional Special Masters “to administer damages

proceedings for the Plaintiffs in this case [who were] awarded default judgment, [but] who were

not part of this Court’s remit to Mr. Alan L. Balaran.” Oct. 3, 2024 Order and Admin. Plan, ECF

No. 179, at 1.      The four Special Masters were directed to provide their Reports and

Recommendations on a rolling basis.            Id. at 3.     Special Master Letten’s Report and

Recommendation – which is the subject of this Memorandum Opinion and Order – addresses

claims made “by forty-three (43) Plaintiffs implicated in the 73 attacks for which the Court found

the Defendant, the Islamic Republic of Iran, Liable [.]” Report and Recommendation, ECF No.

231, at 8.

        III. DISCUSSION

        As a preliminary matter, Special Master Letten noted that this Court has jurisdiction over

Plaintiffs’ claims insofar as all the direct victims of the attacks were either “member[s] of the armed

forces” or “employee[s] of the Government of the United States, or of an individual performing a

contract awarded by the United States Government, acting within the scope of the employee’s



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employment,” and furthermore, “all family member Plaintiffs are United States citizens.” Report

and Recommendation, ECF No. 231, at 11: see 28 U.S.C. §1605A(a)(2)(A)(ii) (regarding subject

matter jurisdiction).

       As noted herein, this Court has determined previously that Iran was liable for Plaintiffs’

injuries under 28 U.S.C. § 1605A(c). Pursuant to Section 1605A(c), Plaintiffs’ damages “may

include economic damages, solatium, pain and suffering, and punitive damages.” 28 U.S.C. §

1605A(c). “Under the FSIA, a ‘foreign states shall be liable in the same manner and to the same

extent as a private individual under like circumstances.’ Therefore, plaintiffs are entitled to the

typical array of compensatory damages that may be awarded against tortfeasors in the plaintiffs’

respective domiciliary states.” Peterson v. Islamic Republic of Iran, 515 F. Supp. 2d 25, 51 (D.D.C.

2007) (quoting 28 U.S.C. §1606). In this case, therefore, “[t]he only remaining questions,

therefore, are what type of damages Plaintiffs are entitled to recover and in what amounts.” Fritz

v. Islamic Republic of Iran, 324 F. Supp. 3d 54, 59 (D.D.C. 2018).

       In the instant case, Plaintiffs’ claims for damages may be categorized as follows: (1)

conscious pain and suffering brought by the Estates of Plaintiffs Saenz and Lawson; (2) economic

loss brought by the Estates of Plaintiffs Farr, Saenz, Vacho, West, Lawson, Umbrell, and Mayne;

(3) solatium claims brought by family members of the thirteen deceased victims; and (4) punitive

damages. The issue of punitive damages was not referred to the Special Master; rather, Plaintiffs

have requested punitive damages in their [8] Amended Complaint and through their [191] Motion

in Support of Punitive Damages, which was granted by this Court. See Memorandum Opinion,

ECF No. 196 (incorporated by reference herein) (awarding punitive damages, which are to be

computed by multiplying each Plaintiff’s compensatory damages by three). Accordingly, punitive

damages for the 43 Plaintiffs addressed in this Opinion and Order will be calculated subsequently,



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in a manner consistent with this Court’s Memorandum Opinion, ECF No. 196. The Court turns

now to the Special Master’s recommendations regarding Plaintiffs’ other claims for damages.

       A. Damages for Conscious Pain and Suffering

       In this case, the Estates of Plaintiffs Saenz and Lawson requested damages for conscious

pain and suffering. When assessing damages for pain and suffering, there is “no recovery” where

“death was instantaneous,” Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 112 (D.D.C.

2000). Based on the circumstances and timing of their deaths after their injuries were incurred –

as verified by eyewitness accounts – that bar is inapplicable to claims by the Estates of Plaintiffs

Saenz and Lawson. Plaintiffs requested, and the Special Master recommended, that the Estates of

Carlos Saenz and Isaac Lawson each be awarded $1 million for conscious pain and suffering. The

Special Master noted that courts have awarded $1 million to victims who experienced conscious

pain and suffering for seconds before their deaths. See, e.g., Smith ex rel. Smith v. Islamic Emirate

of Afghanistan, 262 F. Supp. 2d 217, 234 (S.D.N.Y. 2003) (awarding $1 million on behalf of a

victim who was leaving the South Tower of the World Trade Center on September 11, 2001, when

the second plane struck the building, creating the possibility that he experienced pain and suffering

when it happened). Victims who survived a few minutes to a few hours after the bombing typically

receive an award of $1 million. Elahi, 124 F. Supp. 2d at 113. Furthermore, “estates of direct

victims can also recover for the pain and suffering endured” by the victim. Fritz, 324 F. Supp. 3d

at 60. The Court agrees with the Special Master’s recommended award of $1 million in damages

for conscious pain and suffering for the Estates of Carlos N. Saenz and the Estate of Isaac S.

Lawson.




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       B. Economic Loss Damages

       “Section 1605A explicitly provides that foreign state-sponsors of terrorism are liable to

victims for economic losses stemming from injuries or death sustained as a result of the foreign

state’s conduct.” Thuneibat v. Syrian Arab Republic. 167 F. Supp. 3d 22, 48 (D.D.C. 2016) (citing

28 U.S.C. § 1605A)(c)). Plaintiffs may prove economic losses through submission of a forensic

expert’s report. Id. at 49, see Reed v. Islamic Republic of Iran, 845 F. Supp. 2d 204, 214 (D.D.C.

2012) (“The report of a forensic economist may provide a reasonable basis for determining the

amount of economic damages in an FSIA case.”) The Special Master first must examine the

methodological soundness of the calculations, with the idea that “mathematical exactitude is often

impossible,” Bova v. Islamic Republic of Iran, No. 15-cv-1074 (RCL), 2020 WL 2838582, at *11

(D.D.C. May 31, 2020). Then, the Special Master may examine “reasonableness and foundation

of the assumptions relied upon by the experts. Roth v. Islamic Republic of Iran, 78 F. Supp. 3d

379, 402 (D.D.C. 2015), to protect against “speculation, contingency, or conjecture.” Bova, 2020

WL 2838582, at *11.

       Throughout his Special Master Report and Recommendation, Special Master Letten

documented the two expert reports by Wayne Plumly, Jr., Ph.D. and Steven A. Wolf, CPA, CFE,

ABV/CFF, ASA that he utilized in support of calculating Plaintiffs’ economic loss claims. Both

economic experts are well-qualified, and both have previously provided expert reports on

economic losses in numerous terrorism cases, where such loss calculations derived therefrom have

been adopted by courts, including this Court. Based on a review of the record in this case, the

Court finds these calculations and assumptions made by the forensic economist experts in their

reports to be reasonable. Nor have Plaintiffs objected to any of the economic loss calculations.

Accordingly, the economic loss damages recommended by the Special Master in his Report and



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Recommendation on behalf of the Estates of Plaintiffs Farr, Saenz, Vacho, West, Lawson, Umbrell,

and Mayne are approved by this Court.

       The Court notes that, as part of its claim for economic loss damages, the Estate of Isaac

Lawson requested reimbursement of unreimbursed funeral expenses, including prejudgment

interest, in the total amount of $27,312.50. Funeral expenses may be awarded as part of economic

damages pursuant to Section 1605A(c), along with prejudgment interest. Colvin v. Syrian Arab

Republic, 363 F. Supp. 3d 141, 160-61 (D.D.C. 2019); Belkin v. Islamic Republic of Iran, 667 F.

Supp. 2d 8, 24 (D.D.C. 2009) (same). Regarding prejudgment interest, the Special Master

explained that “[t]his Circuit has held that an appropriate measure of what rate to use when

calculating prejudgment interest is ‘the prime rate for each year, i.e., the rate banks charge for

short-term unsecured loans to credit-worthy customers.’” Report and Recommendation, ECF No.

231, at 54 (quoting Oldham v. Korean Air Lines Co., 127 F.3d 43, 54 (D.C. Cir. 1997) (citing

Forman v. Korean Air Lines Co., Ltd., 84 F.3d 446, 450 (D.C. Cir.), cert den., 519 U.S. 1028

(1996)). Accordingly, considering the applicable case law, the Court adopts the Special Master’s

recommended calculation of funeral expenses with prejudgment interest, which is included in the

claim for economic damages made by the Estate of Isaac Lawson.

       C. Solatium Damages

       A claim for solatium is “a claim for the mental anguish, bereavement and grief that those

with a close personal relationship to a decedent experience as a result of the decedent’s death, as

well as the harm caused by the loss of the decedent, society and comfort.” Belkin, 667 F. Supp. 2d

at 22 (citation omitted). Under the state-sponsored terrorism exception to the FSIA, “the award of

solatium damages to the close relatives of terrorism victims” is expressly contemplated. Fritz, 324

F. Supp. 3d at 61-62 (citing 28 U.S.C. § 1605A(c)). It is presumed that “family members in direct


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lineal relationship suffer compensable mental anguish[.]” Kaplan v. Hezbollah, 213 F. Supp. 3d

27, 38 (D.D.C. 2016) (internal quotation marks omitted).

       Judges in this District Court have employed “a general framework for the calculation of

proper damage awards in FSIA cases” based on principles articulated in the Heiser case. Oveissi

v. Islamic Republic of Iran, 768 F. Supp. 2d 16, 26 (D.D.C. 2011) (citing Heiser v. Republic of

Iran, 466 F. Supp. 2d at 269-270). Under this general framework, spouses of deceased victims

receive $8 million; parents and children receive $5 million; and siblings receive $2.5 million.

Peterson v. Islamic Republic of Iran (“Peterson II”), 515 F. Supp. 2d 25, 52 (D.D.C. 2007); Valore

v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 85 (D.D.C. 2010); Heiser v. Islamic Republic of

Iran, 466 F. Supp. 2d 229, 269 (D.D.C. 2006). “Spouses typically receive greater damage awards

than parents, who, in turn, receive greater awards than siblings,” and “families of victims who have

died are typically awarded greater damages than families of victims who remain alive.” Heiser,

466 F. Supp. 2d at 269 (internal quotation marks omitted).4

       Non-adoptive stepparents may be awarded damages equivalent to biological parents if they

had a relationship with the victim that was functionally the same as biological parents such as

living in the same household while the victims were minors and treating the children the same as

their own, financially, emotionally, and socially. Heiser, 659 F. Supp. 2d at 29; see also Valore,

700 F. Supp. 2d at 79-80 (finding non-adoptive stepfather entitled to damages where he considered

the victim to be his son and vice versa, and where the victim and stepfather acted as a natural



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  “Relatives of surviving servicemen receive[ ] awards valued at half of the awards to family
member of th[ose] deceased[.]” Murphy v. Islamic Republic of Iran, 740 F. Supp. 2d 51, 79
(D.D.C. 2010); see also Davis v. Islamic Republic of Iran, 882 F. Supp. 2d 7, 14 (D.D.C. 2014)
(finding that, for the immediate family members of a victim injured by terrorists, courts typically
adhere to the following scale: “$4 million, $2.5 million, $1,5 million, and $1.25 million to
spouses, parents, children and siblings, respectively.” (quotation omitted)).

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family). The test used by courts in this District for granting solatium awards to “immediate family

members of a direct victim. . . even if they are not legally or biologically related” is one of

“functional equivalen[cy].” Cabrera v. Islamic Republic of Iran, No. 18-cv-2065 (JDB), 2023 WL

3496303, at *5 (D.D.C. May 16, 2023) (internal citations omitted), adhered to, No. 18-cv-2065

(JDB); see also Fritz v. Islamic Republic of Iran, 324 F. Supp. 3d 54, 63 (D.D.C. 2018) (“the D.C.

Circuit has recognized that ‘immediate family members’ may include ‘members of the victim’s

household’ who are ‘viewed as the functional equivalents of immediate family members.’”) (citing

Betts v. Islamic Republic of Iran, 315 F.3d 325, 335 (D.C. Cir. 2003)). Damages may be awarded

to both a parent and a stepparent of a victim, see, e.g., Fritz v. Islamic Republic of Iran, 15-cv-456

(RDM), 2018 WL 5046229, at *22 (D.D.C. Aug. 13, 2018), as well as to stepchildren who still

maintained relationships with their biological father, see, e.g., In re Terrorist Attacks on Sept. 11,

2001, No. 03-mdl-1570 (GBD)(SN), 2016 U.S. Dist. LEXIS 144325, at *300-302 (S.D.N.Y. Oct.

14, 2016), report and recommendation adopted sub. nom. In re Terrorist Attacks on Sept. 11, 2001,

No. 03-mdl-1570 (GBD)(SN), 2016 U.S. Dist. LEXIS 151675 (S.D.N.Y. Oct. 31, 2016).

       The Court notes that there is some inconsistency in the amounts awarded to children of

deceased victims with $3 million indicated as the amount to be awarded in cases such as Anderson

v. Islamic Republic of Iran, 839 F. Supp. 2d 263, 266 (D.D.C. 2012) (based on the same amount

awarded in Stern v. Islamic Republic of Iran, 271 F. Supp. 2d 286, 301 (D.D.C. 2003)); see also

Spencer v. Islamic Republic of Iran, 71 F. Supp. 3d 23, 27-28 (D.D.C. 2014) (finding that ‘[a]wards

of $3 million to the children of deceased victims are typical . . . [while] [c]hildren of a surviving

victim receive $1.5 million on average.”) (citation omitted). In contrast, $5 million was awarded

for children of a deceased servicemember in Heisner, 466 F. Supp. 2d at 318, and Oveissi, 768 F.




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Supp. 2d at 26, and in Peterson II, 515 F. Supp. 2d at 51-52 (where $2.5 million was established

as the award for children of a surviving servicemember).

       In Mwila, the court recognized this inconsistency and stated that:

       Courts in this district have differed somewhat on the proper amount awarded to children of
       victims. Compare Peterson II, 515 F. Supp. 2d at 51 ($2.5 million to child of injured
       victim), with Davis v. Islamic Republic of Iran, 882 F. Supp. 2d 7, 14 (D.D.C. 2012) ($1.5
       million to child of injured victim). The Court finds the Peterson II approach to be more
       appropriate: to the extent such suffering can be quantified, [insofar as] children who lose
       parents are likely to suffer as much as parents who lose children.


Mwila, 33 F. Supp. 3d at 44-45. Reviewing the case law on solatium damages, this Court finds

appropriate awards of solatium damages to immediate family members of victims killed by

terrorists in the amounts of $8 million, $5 million, $5 million, and $2.5 million, to spouses, parents,

children, and siblings, respectively.5

       The Special Master’s recommended solatium damage awards that correspond to this

formula are adopted by this Court. The Court further finds appropriate the Special Master’s

recommended damages of $5 million to Silver Farr (stepmother to Clay Farr), see Report and

Recommendation, ECF No. 231, at 27 (agreeing that Silver functioned as the equivalent of Farr’s

biological mother as the two considered each other mother and son and shared the same household

since Farr was 16) and $5 million to Jeffrey Anderson (stepfather to Brandon Stout), see id. at 66-

67 (finding that Anderson satisfies the functional equivalent of Stout’s father and considered

himself as such). Furthermore, the Court finds appropriate the recommended damages of $5

million to Brett and Brian Coke (stepsons to Robert McRill, who were four and three years old,




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  “Siblings of half-blood to the servicemen in this case are presumed to recover as a full-blooded
sibling would - - that is, they are entitled to $2,5 million. . .” Peterson II, 515 F. Supp 2d at 52.

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respectively, when their mother married McRill) based on the close nature of the familial

relationships between McRill and his stepsons.

       In six cases, the Special Master’s recommended solatium damages deviate from this

aforementioned formula, but those deviations are well-supported by the facts and circumstances

in the record. The Court notes that “[t]hese [solatium] numbers . . . are not “set in stone,” Murphy,

740 F. Supp. 2d at 79, but instead are “goalposts,” and “courts should deviate depending on the

circumstances.” Fritz, 324 F. Supp. 3d at 62 (citation omitted). “A court’s job in a solatium case

is to account for various facts and circumstances, and to use those factors to arrive at an appropriate

numerical expression of total pain and grief —encapsulated in the solatium award.” Oveissi, 768

F. Supp. 2d at 25. Upward departures may be warranted if there is “evidence establishing a

particularly close relationship between the plaintiff and the decedent, particularly in comparison

to the normal interactions to be expected given the familial relationship” or with “medical proof

of severe pain, grief or suffering on behalf of the claimant” or if the “circumstances surrounding

the terrorist attack [rendered] the suffering particularly more acute or agonizing.” Oveissi, 768 F.

Supp. 2d at 26-27. Downward departures are also possible where the relationship between the

victim and family members is attenuated. Valore, 700 F. Supp. 2d at 87. The Court turns now to

the departures recommended by the Special Master.

       In two cases, the Special Master’s recommended solatium damages deviate downward, but

these downward deviations are consistent with the Plaintiffs’ requested damages. The Special

Master recommended an adjusted award of $500,000 in solatium damages for Anthony Alderete,

stepfather to Clay Farr, and an adjusted award of $4.5 million in solatium damages to Daniel

Benavidez, stepfather to Kenneth Mayne. The Special Master recommended these downward

departures based on the circumstances surrounding the relationships between these Plaintiffs and



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the victims, and the Court agrees with those recommendations. In the case of Anthony Alderete,

the Special Master noted that “Plaintiffs acknowledge[s] that Anthony knew SPC Farr for about a

year as a child, when Anthony was not yet married to Carrol, and then for about three years after

SPC Farr and Carrol reconnected in 2003,” Report and Recommendation, ECF No. 231, at 24, and

while he mourned the loss of things they might have done in the future, “Anthony describe[d]

primarily how SPC Farr’s death affected his wife and their marriage.” Id. In the case of David

Benavidez, the Special Master indicated that Benavidez married Mayne’s mother when Mayne

was thirteen and that the two had a close familial relationship insofar as they went fishing,

camping, and attended sporting events together; they conversed for hours; and Benavidez attended

Mayne’s parent-teacher conference and theatrical performances. Report and Recommendation,

ECF No. 231, at 112-113. The Special Master noted also that the final time the two saw each other

was the first time Mayne called Benavidez “dad” to “his face.” Id. at 113. Based on the

circumstances of these relationships, as described by the Special Master, the Court agrees with

these two downward departures (that are consistent with the damages claimed by Plaintiffs).

       The Special Master recommended four adjustments that all vary upward by $500,000.00

from the damages claimed by Plaintiffs - $4 million for Paula Menke (stepmother to Jonathan

Menke); $3 million for Nichole Lohrig (sister to Jonathan Menke); $3 million for Matthew Menke

(stepbrother to Jonathan Menke); and $3 million for Sylvia Johnson Spencer (stepmother to

Raymond Spencer). Regarding Paula Menke, the Special Master found that she became Jonathan’s

stepmother when he was 14 years old and considered him to be her son, as his biological mother

“barely had any contact” with him. Report and Recommendation, ECF No. 231, at 97-98. Paula

picked Joanathan up from school and took him to practices, watched his baseball and football

games and theater performance, and they enjoyed making cookies and talking about fashion



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together. Id. at 95-96. The family “ate dinner together every night, followed by family game

night.” Id. at 96. The Special Master recommended, and this Court agrees with, an upward

adjustment to $4 million in solatium damages for Paula Menke based on the nature of her bond

with Jonathan, the frequency of their contacts, the 8-year duration of the relationship as “virtual

mother and child,” and the lasting effects of Jonathan’s death on Paula.   Id. at 98-99.

       Regarding Johnathan Menke’s sister, Nichole Lohrig, who was four years older than him,

the Special Master noted the “extraordinarily close emotional bond [between the two], including

the[ir] deep emotional dependence on one another.” Id. at 102. Nichole considered her brother to

be her best friend based on “their shared childhood loss of their older half-brother, which brought

the two closer together for the rest of their lives,” and she indicated that they would spend hours

talking, laughing, and crying together. Id. at 103. The Special Master also considered the

magnitude of the effect of Jonathan’s death on Nichole’s life and well-being. Id. Accordingly, for

these reasons, the Court agrees with the Special Master’s upward adjustment to $3 million in

solatium damages for Nichole Lohrig.

       Regarding Matthew Menke, the 8-year younger stepbrother of Jonathan Menke, the Special

Master explained that Mathew regarded Jonathan as his “big brother and best friend,” and that

Jonathan was “everything [Matthew] wanted to be.” Id. at 104. Jonahan taught Matthew to ride

a bicycle and play basketball; they bonded over a love of football, and Matthew sought his advice

about talking to girls. Id. Matthew was in eighth grade when Jonathan died, and he had a hard

time dealing with all the attention following his brother’s death while experiencing feelings of

guilt about living life when his brother was gone. Id. at 105. The Special Master recommends an

upward departure to $3 million in solatium damages for Matthew Menke, based on the nature of




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his relationship with Jonathan and the aftereffects of Jonathan’s death, and this Court agrees with

that upward departure.

       Regarding Sylvia Johnson Spencer, the Special Master indicated that Sylvia dated

Raymond’s father when Raymond was ten, and she became Raymond’s stepmother when he was

thirteen, and she loved Raymond and his sister as if they “were [her own] kids.” Report and

Recommendation, ECF No. 231, at 81. As rationale for the recommended upward departure, the

Special Master noted that:

       [Raymond] and Sylvia became very close and by all accounts, spent as much time together
       as in a traditional mother-child relationship. In addition to routinely going for walks, to
       moves, playing games, or going on day trips to the zoo — even while SPC Spencer was
       deployed in the army, Sylvia routinely sent him care packages which included hot
       chocolate, candy, and cookies. Perhaps most importantly, Slyvia considered SPC Spencer
       as her son, and after his death became a member of the Gold Star Program. Because of
       their close relationship, she was so affected by SPC Spencer’s death that she indicates that
       despite trying to move forward from her stepson’s passing, “the pain is always there.”

Report and Recommendation, ECF No. 321, at 83. For these reasons, this Court finds warranted

the Special Master’s upward departure to $3 million in solatium damages for Sylvia Johnson

Spencer. Accordingly, the Court agrees with the Special Master’s recommended solatium damages

for Plaintiffs Carrol Alderete; Patrick Farr; Chad Farr; Anthony Alderete; Silver Farr; Nanette

Saenz; John Vacho; Estate of Carol Vacho; Ashley Vacho Leslie; Jeanette West; Shelby West;

Suzzettee Lawson; Chiara Lawson; Tracy Anderson; Jeffrey Anderson; Nancy Umbrell; Mark

Umbrell; Shelley Ann Smith; Raymond Nigel Spencer, Sr.; Sylvia Johnson Spencer; Katherine

McRill-Fellini; Brett Coke; Brian Coke; Daniel Menke; Paula Menke; Nichole Lohrig; Matthew

Menke; Michelle Benavidez; Daniel Benavidez; Christina Biederman; Jennifer Morman; Daniel

Benavidez, Jr.; Marlynn Gonzales; Tony Gonzales; Tamara Runzel; and Megan People.




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       IV. CONCLUSION

       The Court acknowledges Plaintiffs’ efforts to hold Iran responsible for the acts of terror

that resulted in injury and/or death to persons serving in the military and/or working for the

Government and appreciates that there is no amount of money that can truly compensate the

servicemembers/civilians and members of their family. Based on the explanation set forth herein,

the Court finds Defendant responsible for the injuries sustained by Plaintiffs and liable under the

FSIA’s state-sponsored terrorism exception for damages based on economic loss, conscious pain

and suffering, and solatium. Accordingly, it is this 27th day of May 2025,

       ORDERED that the court ADOPTS the Report and Recommendation by Special Master

Letten. After the Court reviews the proposed damages chart provided by Plaintiffs, which

calculates punitive damages in accordance with the formula used by the Court in its [196]

Memorandum Opinion, the Court will issue its Order and Judgment, with a damages chart attached

thereto.



                                                     ____________/s/__________________
                                                     COLLEEN KOLLAR-KOTELLY
                                                     UNITED STATES DISTRICT JUDGE




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